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                                                          FILED: December 23, 2008


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                     No. 07-4059 (L)
                                   (8:04-cr-00235-RWT)
                                   ___________________


        UNITED STATES OF AMERICA,

                               Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross,

                               Defendant - Appellant



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                                        O R D E R
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              The deadline for filing of transcript by Tracy Dunlap is

        extended to 12/31/2008.



                                           For the Court--By Direction

                                           /s/ Patricia S. Connor, Clerk
